 Case 1:19-cv-00503-NT Document 26 Filed 11/19/20 Page 1 of 2             PageID #: 84




                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


 RILEY JEAN HALL,                               )
                                                )
            Plaintiff,                          )
                                                )
 v.                                             ) Civil No. 1:19-cv-00503-NT
                                                )
 AROOSTOOK COUNTY JAIL, et al.,                 )
                                                )
             Defendants.                        )


                                        ORDER

      After the Plaintiff Riley Jean Hall failed to attend his scheduled deposition,

filed no response to the Defendants’ motion for summary judgment, and had not

contacted defense counsel, I issued an Order to Show Cause on September 18, 2020

(ECF No. 22). After the Plaintiff failed to respond to that Show Cause Order, on

October 16, 2020, I issued a second Show Cause Order (ECF No. 24) in which I

ordered the Plaintiff to respond in writing by November 9, 2020, whether he intended

to proceed with this action. I also warned the Plaintiff that if he failed to respond, his

complaint would be dismissed for failure to prosecute pursuant to Federal Rule of

Civil Procedure 41(b). I also ordered that that second Show Cause Order be sent to

two addresses associated with the Plaintiff, one in Mapleton, Maine, and one in

Presque Isle, Maine. The Plaintiff has again failed to respond. Although the copy of

the second Show Cause Order sent to the Mapleton address was returned as

undeliverable (ECF No. 25), to date, the copy of the second Show Cause Order sent to

the Presque Isle address has not been returned by the U.S. Postal Service.
 Case 1:19-cv-00503-NT Document 26 Filed 11/19/20 Page 2 of 2     PageID #: 85




Accordingly, the Plaintiff’s Complaint is DISMISSED pursuant to Rule 41(b) for

failure to prosecute.

      SO ORDERED.


                                                /s/ Nancy Torresen
                                                U.S. District Judge

Dated: November 19, 2020




                                      2
